RESIDENTIAL RENTAL AGREEMENT
State of ALABAMA

Countyof_____Eimere

 

This rental agreement made at __vontgomery _, ALABAMA, on this 20th day of

April » .2020_, by and between Tenant(s)

Christy Cruse Valorie Pierce (hereinafter called “TENANT"), and
Owner scartorough § Associatas LIC (hereinafter called "LANDLORD"),

shall provide as follows:

1. This Rental Agreement is governed by the provisions of the Alabama Uniform Residential
Landlord and Tenant Act of 2006.

2. LOCATION: The Landlord hereby rents to the Tenant and the Tenant hereby rents from the
Landiord a parcel of property located in the county of Elmera State of ALABAMA which
parcel of land with improvements will constitute the premises. Said parcel of land is more particularly
described as follows: 369 Woodhaven Lana, Wetumpka, AL 36093

 

3. TERMS: This Rental Agreement shall commence on the _1sth day
of May 2020_, and end on the ist day of May 2022. Tenant covenants
that upon the termination of this Rental Agreement, or any extension thereof that Tenant will quietly and
peaceably deliver up possession of the premises in good order and condition, reasonable wear and tear
excepted, free of Tenant's personal property, garbage and other waste, and return all keys to the
Landlord.

 

4. LEAD-BASED PAINT DISCLOSURE FOR MOST RESIDENTIAL PROPERTIES BUILT BEFORE 1978: See
Lead-Based Paint Disclosure Addendum attached (only applies to most rental properties built before
1978.)

S. RENTAL APPLICATION: The Tenant acknowledges that the Landlord has relied upon the rental
application, a copy of which is attached hereto, as an inducement for entering into this agreement, and
the Tenant warrants to the Landlord that the facts stated in the application are true to the best of
Tenant's knowledge. if any facts stated in the rental application prove to be untrue, the Landlord shall
have the right to terminate the residency immediately and to collect from the Tenant any damages
resulting therefrom.

6. RENT: Tenant agrees to pay Landlord a rent of $ 1,400.00 per month, payable in
advance, on or before the first day of every month during said term for a total rent of $ .
The rent Is payable to: __Searborough ¢ Asnociates LLC _ of as Tenant may be advised from time to
time in writing. Tenant agrees that failure to pay rent pursuant to the terms hereof is a willful violation of
this Rental Agreement.

Tenant further agrees to pay a late fee of fee of $ 50.00 after the Sth day of the
month, and an additional late fee of $ 10.00 per day if rent Is paid after the 6th __ day of
the month. Where the term of the Rental Agreement commences or terminates on a day other than the
first day of the month, Tenant shall pay rent unto the Landlord in the amount of $ 46.00 per
day for each day of the month of commencement or termination of the Rental Agreement, payable prior

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to the Tenant taking possession upon commencement of the Rental Agreement, and payable on the first
day of the final month of the Rental Agreement upon termination.

7. OCCUPANTS: Only persons designated in the rental agreement or as further modified or
agreed to in writing by Landlord shall reside in the rented premises. For purposes of this rental

agreement the designated occupants are:
Isabella King

Nolan Cruse

Jason Cruse

{n no event shall more than__4__ persons be allowed to occupy said premises.

 

8. RETURNED CHECKS: Tenant agrees to pay $__—35.00 _ for each dishonored check for
bookkeeping costs and handling charges, plus late charges if the check is not made good before the sixth
day after the due date. All future rent and charges, if more than one check is returned, shall be paid in
the form of cash, cashier's checks, certified check or money order. If any check for the security deposit or
the first month's rent is returned for insufficient funds, Landlord may declare this rental agreement void
and immediately terminated.

9. RENEWAL TERMS: With thirty (30) days written notice, either party may terminate this
agreement at the end of the initial term, but if no notice is given, then the agreement will be extended on
a month-to-month basis on the same terms and conditions contained in this agreement. Thirty (30) days
written notice by either party is required prior to termination during such month-to-month term.

10. SUBLEASE: Tenant shall not assign or sublet said premises, or any part thereof without the
written consent of Landlord. Tenant must have written permission from Landlord for guests to occupy
the premises for more than __7___ days.

 

11. UTILITIES AND SERVICES: Tenant agrees to pay for utilities and services except:

N/A which will be paid by Landlord. In the event of Tenant default

on payment of utilities Landlord may pay and charge Tenant as additional rent together with any

penalties, charges and interest. Tenant shall be liable for any inspections required by local

authorities/utility companies due to Tenant's failure to obtain service at time of occupancy or te maintain

said service during the term of this agreement. Tenant shall pay all costs of hook-ups and connection fees
and security deposits in connection with providing utilities to premises during the term of the Lease.

12. TENANT OBLIGATIONS: Tenant agrees to comply with the provisions of §35-9A-301, Code of
Alabama 1975, and to keep the dwelling unit and all parts of the premises that he leases safe and clean.
In the case of a single-family house or duplex, Tenant shall keep the yard mowed, watered and free of fire
ants, keep the roof and gutters free of debris, the shrubs neatly trimmed, and landscaping maintained.
Tenant agrees to be responsible for removal of Tenant's contagious and other hazardous materials.
Tenant agrees to comply with the lease and rules and regulations the Landlord may adopt concerning the
Tenants’ use and occupancy of the premises;

Tenant, or any member of Tenant's family, guest or other person under the Tenant's control,
shall conduct themselves in a manner that will not disturb other Tenants’ and neighbors’ peaceful
enjoyment of the premises. Tenant, or any member of Tenant's family, guest or other person under the
Tenant's control, shall not engage in or facilitate criminal or drug related activities. Any such violation

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constitutes a substantial violation of the Lease and a material noncompliance with the Lease and is
grounds for termination of tenancy and eviction from the premises.

It is specifically understood that Tenant will, at Tenant's expense, keep sinks, lavatories, and
commodes open, reporting any initial problem within five (5) days of occupancy, repair any and all
damages caused by tenancy and replace any burned out light bulbs. Tenant agrees to report to landlord
any malfunction of or damage to electrical, plumbing, HVAC systems, smoke detectors, and any
occurrence that may cause damage to the property. Tenant also agrees to pay for the cost of all repairs
made necessary by negligence or careless use of the premises and pay for repairs and loss resulting from
theft, malicious mischief or vandalism by Tenant and their guests. Tenant agrees to provide copies to
Landlord of any inspection reports or repair estimates that Tenant may obtain.

Tenant agrees to be responsible for and to make at Tenant's expense all routine maintenance,
including but not limited to, stoppage of sewer because of misuse or broken water pipes/fixtures due to
neglect or carelessness of Tenant. No repairs, alterations or changes in or to said premises or the fixtures
or appliances contained therein, shall be made except after written consent of Landlord, and shall be the
responsibility of the Tenant for the cost of restoring said premises to their original condition if Tenant
makes any such unauthorized modifications. NO REPAIR COSTS SHALL BE DEDUCTED FROM RENT BY
TENANT. All improvements made by Tenant to the said premises shall become the property of the
Landlord. Locks/deadbolts shall not be changed without the expressed permission of the Landlord.

Tenant is directly responsible for any damage caused by Tenant's appliances and/or furniture.
Tenant is responsible for changing HVAC filters, reporting any water leaks, lighting pilot lights, checking
for tripped breakers, changing smoke detector batteries and minor housekeeping repairs. Tenants will be
held tiable for damage to HVAC systems caused by dirty or missing filters and damages resulting from
unreported problems. Tenant acknowledges that Tenant has inspected the premises and agrees that the
premises and any common areas are safe, fit and habitable condition. Tenant acknowledges receipt of
instructions of smoke detector operation.

13. MAINTENANCE OF PREMISES: Landlord agrees to make repairs and do what is necessary to
keep the premises in a fit and habitable condition as specified in the Alabama Uniform Residential
tandiord and Tenant Act. The Landlord further agrees to maintain In reasonably good and safe working
condition, all electrical, gas, plumbing, sanitary, HVAC, smoke detectors and other facilities supplied by
him. Landlord is not responsible for changing batteries in smoke detectors.

14. ESSENTIAL SERVICES AND APPLIANCES: The Landlord is required to provide essential services;
meaning sanitary plumbing or sewer services; electricity; gas, where it is used for heat, hot water, or
cooking; running water, and reasonable amounts of hot water and heat, except where the building that
includes the dwelling unit is not required by law to be equipped for that purpose, or the dwelling unit is
so constructed that heat or hot water is generated by an installation within the exclusive control of the
Tenant and supplied by a direct public utility connection. The following appliances present in the dwelling
unit are specifically included by this rental agreement as being deemed to be supplied by the Landlord:
stove, @ refrigerator, @ dishwasher, 0 disposal, O washer, C dryer, & microwave, © trash compactor,
© other:

 

215. INSURANCE: Tenant shall be responsible for insuring his/her own possessions against fire and
other catastrophes.

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16. RIGHT TO ACCESS: The Tenant shall not unreasonably withhold consent to the landlord to
enter into the dwelling unit in order to inspect the premises; make necessary or agreed repairs,
decorations, alterations, or improvements; supply necessary or agreed services; or exhibit the dwelling
unit to prospective or actual purchasers, mortgagees, tenants, workmen, or contractors. The Landlord or
Landlord's agent may enter the dwelling unit without consent of the Tenant in case of emergency.

The Landlord shall not abuse the right of access or use it to harass the Tenant, Except in cases of
emergency or unless it is impracticable to do so, landlord shall give tenant at least 2 days notice of the
landlord’s intent to enter and may enter only at reasonable times. Posting on the primary door of entry
to the residence of the tenant stating the intended time and purpose of the entry shall be a permitted
method of notice for the purpose of the landlord’s right of access to the premises.

The Landlord has no other right of access except: pursuant to court order, as permitted by the
Alabama Uniform Residential Landlord and Tenant Act when accompanied by a law enforcement officer
at reasonable times for the purpose of service of process in ejectment proceedings, or unless the Tenant
has abandoned or surrendered the premises, or as otherwise allowed by law.

17. MILITARY CLAUSE: If the Tenant is a member of the Armed Forces of the United States,
Stationed in the N/A area, and shall receive permanent change of station orders out of
the N/A area, Tenant may, upon presentation of a copy of said orders of transfer to the
Landlord, along with thirty (30) days written notice of intent to vacate and payment of all rent to the
expiration date of such written notice, and any miscellaneous charges in arrears, terminate this Rental
Agreement. Normal enlistment termination or other type discharge from Armed Forces, unless due to
conditions beyond the service member's control, or acceptance of government quarters is not a
permanent change of station and is not justification for lease termination. Withholding knowledge of
pending transferor discharge at time of entry into this Rental Agreement voids any consideration or
protection offered by this section.

18. DESTRUCTION OR DAMAGE TO PREMISES: If the dwelling unit or premises are damaged or
destroyed by fire or casualty to the extent that normal use and occupancy of the dwelling unit is
substantially impaired, the Tenant may:

(a) immediately vacate the premises and notify the Landlord in writing within fourteen days
thereafter of Tenant's intention to terminate the rental agreement, in which case the rental agreement
terminates as of the date of vacating; or

(b) if continued occupancy is lawful, vacate any part of the dwelling unit rendered unusable by
the fire or casualty, in which case the Tenant's liability for rent is reduced in proportion to the diminution
in the fair-market rental value of the dwelling unit.

Unless the fire or casualty was due to the tenant's negligence or otherwise caused by the tenant,
if the rental agreement is terminated, the landlord shall return security deposit to the tenant with proper
accounting as required by law. Accounting for rent in the event of termination or apportionment must be
made as of the date of the fire or casualty. The Landlord shall withhold the tenant's security deposit if the
fire or casualty was due to the tenant's negligence or otherwise caused by the tenant, with proper
accounting as required by law.

19. CONDEMNATION: Tenant hereby waives any injury, loss or damage, or claim therefore
against Landlord resulting from any exercise of a power of eminent domain of all or any part of the

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rented premises or surrounding grounds of which they are a part. All awards of the condemning authority
for the taking of land, parking areas, or buildings shall belong exclusively to the Landlord. In the event
substantially all of the rented premises shall be taken, this Rental Agreement shall terminate as of the
date the right to possession vested In the condemning authority and rent shall be apportioned as of that
date. in the event any part of the property and/or building or buildings of which the rented premises are
a part (whether or not the rented premises shall be affected) shall be taken as a result of the exercise of a
power of eminent domain, and the remainder shall not, in the opinion of the landlord, constitute an
economically feasible operating unit, Landlord may, by written notice to Tenant given within sixty (60)
days after the date of taking, terminate this Rental Agreement as of a date set out in the notice not
earller than thirty (30) days after the date of the notice; rent shall be apportioned as of termination date.

20. ABSENCE, NON-USE AND ABANDONMENT: The unexplained absence of 2 Tenant from a
dwelling unit for a period of 15 days after default in the payment of rent must be construed as
abandonment of the dwelling unit. if the Tenant abandons the dwelling unit for a term beginning before
the expiration of the rental agreement, it terminates as of the date of the new tenancy, subject to the
other Landiord’'s remedies, If the Landlord fails to use reasonable efforts to rent the dwelling unit at a fair
rental or if the Landlord accepts the abandonment as a surrender, the rental agreement is considered to
be terminated by the Landlord as of the date the Landlord has notice of the abandonment. When a
dwelling unit has been abandoned or the rental agreement has come to an end and the Tenant has
removed a substantial portion of personal property or voluntarily and permanently terminated the
utilities and has left personal property in the dwelling unit or on the premises, the Landlord may enter
the dwelling unit, using forcible entry if required, and dispose of the property.

21. SECURITY DEPOSIT: Tenant agrees to deposit with Landlord a security deposit of
$1,400.00 to be held as security for the full and faithful performance by the Tenant of all terms
and conditions herein, it being understood and agreed to that no part of this deposit is to be applied to
any rent which may become due under this rental agreement. Upon termination of the tenancy, property
or money held by the Landlord as security may be applied to the payment of accrued rent and the
amount of loss of rents or damages which the Landlord has suffered by reason of the Tenant's
noncompliance with this lease and the Alabama Uniform Residential Landiord and Tenant Act. Any
deduction from the security deposit must be itemized by the Landlord in a written notice of the Tenant
together with the amount due, if any, within 35 days after termination of the tenancy and delivery of
possession and demand by the Tenant, whichever is later. This obligation is met when the landlard mails
the portion of the deposit owed and/or the written notice within 35 days by first class mail or better. The
Tenant shall provide the Landlord in writing with a forwarding address or new address to which the
written notice and amount due from the Landlord may be sent.

22. NONCOMPLIANCE WITH RENTAL AGREEMENT OR FAILURE TO PAY RENT: tf there is a
noncompliance by the Tenant with the rental agreement other than nonpayment of rent or a
noncompliance with Paragraph 12 above, the Landlord may deliver a written notice to the Tenant
specifying the acts and omissions constituting the breach and that the rental agreement will terminate
upon a date not less than 14 days after receipt of the notice, if the breach Is not remedied in 14 days.

The rental agreement shall terminate as provided in the notice except that: if the breach is
remediable by repairs or otherwise and the Tenant adequately remedies the breach before the date
specifled in the notice, or if such remedy cannot be completed within 14 days, but is commenced within
the 14-day period and Is pursued in good faith to completion within a reasonable time, the rental
agreement shall not terminate by reason of the breach.

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Mail: Scarborough & Associates LLC

1322 Old Gak Placa

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36117

 

Montgomery

 

Phone:___ 334-322-1392

Other: mariess613@quail.con

36. CAPTIONS: Any heading preceding the text of any paragraph hereof is inserted solely for
convenience of reference and shall not constitute a part of this Rental Agreement, nor shail they affect its
meaning, construction or affect.

 

37. FACSIMILE AND OTHER ELECTRONIC MEANS: The parties agree that this Agreement may be
communicated by use of a fax or other secure electronic means, including but not limited to electronic
mail and the internet, and the signatures, initials and handwritten or typewritten modifications to any of
the foregoing shall be deemed to be valid and binding upon the parties as if the original signatures,
initials and handwritten or typewritten modifications were present on the documents in the handwriting
of each party.

38. MEGAN'S LAW: The Tenant and Landlord agree that the Property Manager or Real Estate
Broker representing Tenant or Landiord and all affiliated agents are not responsible for obtaining or
disclosing any information contained in the Alabama Sex Offender Registry. The Tenant and Landlord
agree that no course of action may be brought against the Property Manager or Real Estate Broker
representing Tenant or Landlord and all affiliated agents for failure to obtain or disclose any information
contained in the Alabama Sex Offender Registry. The Tenant agrees that the Tenant has the sole
responsibility to obtain any such information. The Tenant understands that Sex Offender Registry
information may be obtained from the local sheriff's department or other appropriate law enforcement
officials.

39. ENTIRE AGREEMENT. This lease contains the entire agreement between the parties hereto
and all previous negotiations leading thereto, and it may be modified only by a dated written agreement
signed by both Landlord and Tenant. No surrender of the Premises or of the remainder of the term of this
lease shall be valid unless accepted by Landlord in writing TIME IS OF THE ESSENCE WITH REGARD TO ALL
TERMS AND CONDITIONS IN THIS AGREEMENT.

40. NON-RELIANCE CLAUSE: Both Tenant and Landlord hereby acknowledge that they have not
received or relied nor could have relied upon any statements or representations or promises or
agreements or inducements by either Broker or their agents which are not expressly stipulated herein. If
not contained herein, such statements, representations, promises, or agreements shall be of no force or
effect. This general non-reliance clause shall not prevent recovery in tort for fraud or negligent
misrepresentation or intentional misrepresentation unless specific non-reliance language Is included in
this agreement. This is a non-reliance clause and is neither a merger clause nor an extension of a merger
clause. The parties execute this agreement freely and voluntarily without reliance upon any statements
or representations by parties or agents except as set forth herein. Parties have fully read and understand
this Agreement and the meaning of its provisions. Parties are legally competent to enter into this

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agreement and to fully accept responsibility. Parties have been advised to consult with counsel before
entering into this agreement and have had the opportunity to do so.

41. ADDITIONAL TERMS:

The lawn is to be treated for weeds, watered and maintained.
Carpets to be professionally cleaned and invoice provided.
Home to be clean at time of walk through.

WHEREFORE, the parties have executed this Rental Agreement or caused the same to be
executed by their authorized representative, the day and year first above written.

THIS RENTAL AGREEMENT supersedes all prior written or oral agreements and can be amended
only through a written agreement signed by both parties. Provisions of this Rental Agreement shall bind
and inure to the benefit of the Landlord and to the Tenant and their respective heirs, successors, and
assigns.

THIS IS A LEGALLY BINDING CONTRACT. IF NOT UNDERSTOOD SEEK
COMPETENT LEGAL ADVICE BEFORE SIGNING.

IN WITNESS WHEREOF, the parties hereto have su
duplicate the day,and year above written.

their names and affixed their seals in

   

 

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Witness | ~ ? Tenant 2
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Valoria Pierce

 

 

 

 

Witness Tenant
Scarborough & Associates LIC
Witness Landlord
Wri facLs he
Marie Scarborough af
Witness Landlord’s Agent

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